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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )              CASE NO. 8:11CR424
                                             )
             Plaintiff,                      )
                                             )
             vs.                             )              AMENDED
                                             )        MEMORANDUM AND ORDER
JUAN CARLOS GARCIA,                          )
                                             )
             Defendant.                      )

      This matter is before the Court on Findings and a Recommendation (Filing No. 130)

of a Magistrate Judge recommending that I accept the Defendant’s plea of guilty. There

are no objections to the Findings and Recommendation.           Pursuant to 28 U.S.C. §

636(b)(1)(C) and NECrimR 11.2(d), the Court has conducted a de novo review of the record.

      IT IS ORDERED:

      1.     The Findings and Recommendation (Filing No. 130) are adopted;

      2.     The Defendant is found guilty of Count I of the Indictment. The plea is

             accepted. The Court finds that the plea of guilty is knowing, intelligent,

             voluntary, and that a factual basis exists for the plea;

      3.     I defer acceptance of any plea agreement until sentencing pursuant to

             Federal Rule of Criminal Procedure 11(c)(3). Unless otherwise stated at

             sentencing, any plea agreement will be deemed accepted upon the

             pronouncement of the judgment and sentence; and

      4.     This case shall proceed to sentencing.
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     DATED this 3rd day of July, 2012.

                                              BY THE COURT:

                                              S/ Laurie Smith Camp
                                              Chief United States District Judge




                                          2
